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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

                                     Criminal Minutes

Date:   June 3, 2022                      Judge: Honorable Charles R. Breyer

Court Reporter: Marla Knox
Time: 9 Minutes
Case No.: CR22-0164-1 CRB
Case Name: USA v. Ranna Shamiya (Present) (NC)

Attorney(s) for Government: Katherine Lloyd-Lovett and Babu Kaza
Attorney(s) for Defendant(s): Tony Brass

Deputy Clerk: Lashanda Scott


                                     PROCEEDINGS

Change of Plea hearing held by Zoom. Due to the Covid19 pandemic, all parties consent to
proceed by video conference. The defendant was sworn. Plea Agreement provided to the Court.
Defendant plead guilty to Counts 1 and 2 of the Information. Sentencing hearing set for
September 28, 2022 at 10:00 a.m.
